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      Certification of David H. Stein Esq. in Support of Motion Page 1 of 2




      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      WILENTZ, GOLDMAN & SPITZER, P.A.
      90 Woodbridge Center Drive
      Suite 900, Box 10
      Woodbridge, NJ 07095
      732-636-8000
      DAVID H. STEIN, ESQ.
      Attorneys for Debtor
      In Re:                                                 Case No.: 21-14934 (KCF)

      DUKAT, LLC,                                            Chapter 11 (Subchapter V)

                              Debtor.                        Judge: Hon. Kathryn C. Ferguson

                                                             Hearing date: October 26, 2021
                                                                           at 10:00 a.m.

             CERTIFICATION OF DAVID H. STEIN IN SUPPORT OF DEBTOR’S
             MOTION TO ESTIMATE AND/OR FIX CLAIM OF TARVISIUM
             HOLDINGS, LLC AND 45N12E, LLC PURSUANT TO 11 U.S.C. § 502(c)(1)
             AND FED. R. BANKR. P. 3018 (a)

             DAVID H. STEIN, of full age, pursuant to 28 U.S.C. § 1746, hereby certifies and

     declares as follows:

             1.       I am an attorney at law in the State of New Jersey and a member of the law

     firm of Wilentz, Goldman & Spitzer, P.A., counsel for Dukat, LLC, the chapter 11 debtor.

     I submit this Certification in support of the Debtor’s Motion to Estimate and/or Fix the

     Claim of Tarvisium Holdings, LLC and 45N12E, LLC pursuant to 11 U.S.C. § 502(c)(1)

     and Fed. R. Bankr. P. 3018(a) (the “Motion”).

             2.       Annexed hereto as Exhibit “A” is a copy of the Proof of Claim filed by

     Tarvisium Holdings, LLC and 45N12E, LLC dated August 24, 2021 and listed on the

     Court’s claim’s register maintained for the Debtor as unsecured claim #10-1.

             3.       Annexed hereto as Exhibit “B” is a copy of the proposed Amended

     Adversary Complaint filed again Tarvisium Holdings, LLC, 45N12E, LLC and related

     #12599385.1 172932/001
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     parties that has been filed with the Court and pending pursuant to a Motion to Amend

     Complaint.

             I hereby certify that pursuant to 28 U.S.C. § 1746, under penalty of perjury that the

     foregoing is true and correct.


                                                   /s/ David H. Stein
     Dated: September 23, 2021                     __________________________________
                                                   DAVID H. STEIN




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